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               IN    THE COURT OF CRIMINAL APPEALS
                                              OF TEXAS

                                              NO. AP-77035




                               JUAN CARLOS          ALVAREZ            Appellant



                                                       V.




                                       THE STATE OF TEXAS


 ON DIRECT APPEAL FROM THE TRIAL COURTS RULING ON A MOTION
       FILED IN CAUSE NO. 787007 IN THE 338TH DISTRICT COURT
                         HARRIS COUNTY


        Per curiam.


                                              OPINION

        This   is   an attempted direct appeal of the       trial   courts   ruling on a motion      filed   in   the




338h   District     Court of Harris County         Cause No. 787007           styled   Ex     parte Juan     Carlos



Alvarez.




        Appellant     was convicted    of capital murder and sentenced to death in 1999. This Court



affirmed the      conviction   and sentence   on direct     appeal.    Alvarez   v.   State   No. 73648       Tex.


Crim. App. Oct.      30 2002 not      designated   for publication.      Relief was denied on appellants
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                                                                                                                              Alvarez - 2



initial                              application            for    writ     of habeas          corpus.       See     Ex parte Alvarez
           post-conviction




WR-62426-01                Tex.    Crim. App.             Sept.       24 2008 not          designated            for publication.         His



                                                                  was dismissed          as an abuse of the writ.             See Exparte
subsequent         post-conviction              application




Alvarez         WR-62426-02           Tex. Crim. App.                  Sept.    15 2010 not designated                 for publication.




           While appellants              federal habeas petition                was pending             appellant    moved     the   federal




district   court to stay the proceedings so that he could                               present an unexhausted            claim in       state




court.     Alvarez     v.    Thaler        No. 409-CV-3040                  S.D. Tex. June          6 2013          not designated         for




publication.         The     federal district            court granted the motion.                Id.




           On     January       27 2014          appellant     filed    a   Motion       for    Leave      to File   Under Seal and        to




Litigate    Exparte         a   Motion      for Pre-Application Funds                   for Investigation          and Experts. In the



motion          appellant       asserted        that his    initial    state    habeas     counsel         had    been incompetent          to




represent        him because counsel              suffered from Parkinsons disease a debilitating                         illness which




later     prompted         counsels        withdrawal          from the         case.      The    trial    court     denied    appellants



motion      stating that the trial               court   was without           authority    to permit appellant to seek expert




or investigative           funds    in   an ex parse hearing before                     this    Court authorized         the    filing   of a



subsequent         writ.    Appellant           filed    a notice     of appeal from the           trial   courts order.



           Appellants appeal               is   not permitted.          Appellant       does not cite nor have           we found         any



constitutional       or statutory provision                or any rule that       would        authorize this appeal from the trial




courts order. See Staley              v.   State 233 S.W.3d                 337   338.Tex.        Crim. App. 2007. Appellants



appeal     is   dismissed.
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Do   not   publish

Delivered      May 7 2014
